Case 0:25-cv-60315-WPD Document 45 Entered on FLSD Docket 05/01/2025 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 25-cv-60315-WPD

   GENIE-S INTERNATIONAL LTD.,

          Plaintiff,

   v.

   THE INDIVIDUALS, CORPORATIONS,
   LIMITED LIABILITY COMPANIES,
   PARTNERSHIPS, AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON
   SCHEDULE A,

          Defendants.
                                                         /

                        ORDER APPROVING VOLUNTARY DISMISSAL

         THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal of

  Certain Defendants [DE 44], filed herein on April 30, 2025. The Court has carefully reviewed

  the Notice and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Notice [DE 44] is hereby APPROVED;

         2. The following defendants are hereby DISMISSED WITHOUT PREJUDICE:



    DOE No. Defendant Seller          Defendant Online Marketplace
        34      VOVOU US              https://www.amazon.com/sp?seller=A3AA4JJYS2C7R2
        42      zhuotianshan          https://www.amazon.com/sp?seller=AAILGMDUEP0GE
        72      Domey                 https://us.shein.com/store/home?store_code=9143486336
        90      hui yi                https://us.shein.com/store/home?store_code=4032426850
        95      JinhuaTH              https://us.shein.com/store/home?store_code=7825941569
        96      jiyingmaoyi           https://us.shein.com/store/home?store_code=5652630791
        103     MDHAND                https://us.shein.com/store/home?store_code=9807115573
                Park Lan daily
        108                           https://us.shein.com/store/home?store_code=2213495805
                necessities
Case 0:25-cv-60315-WPD Document 45 Entered on FLSD Docket 05/01/2025 Page 2 of 2



       125      yunhe01          https://us.shein.com/store/home?store_code=3516959014
       127      YW Jingheng      https://us.shein.com/store/home?store_code=5978618708
       129      YWDAIWO          https://us.shein.com/store/home?store_code=1027405934
       133      zhiyumaoyi       https://us.shein.com/store/home?store_code=2033280058
       134      zugexb           https://us.shein.com/store/home?store_code=1195199663
       135      An Liang Be      https://www.temu.com/an--be-m-634418216397182.html


    DOE No. Defendant Seller     Defendant Online Marketplace
                fashion Bag      https://www.temu.com/sports-equipment-ce-m-
       137
                monopoly         634418217474687.html
       142      SAIZOU           https://www.temu.com/saizou-m-634418214105300.html




         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 1st day of May, 2025.




  Copies to:
  Counsel of Record
